         Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 1 of 16




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


MOBILE PIXELS, INC.,                )                Case No. 23-cv-12587 ADB
           Plaintiff,               )
                                    )
v.                                  )
                                    )
THE PARTNERSHIPS AND                )
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED ON SCHEDULE “A”,         )                DEMAND FOR JURY TRIAL
                                    )
            Defendants.             )
____________________________________)


PLAINTIFF’S EX PARTE MOTION AND MEMORANDUM IN SUPPORT FOR ENTRY
    OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
INJUNCTION, A TEMPORARY ASSET RESTRAINT. AND EXPEDITED DISCOVERY
       Plaintiff Mobile Pixels, Inc. (“Mobile Pixels” of “Plaintiff”) submits this combined Ex

Parte Motion and Memorandum in support seeking Entry of a Temporary Restraining Order

(“TRO”), including a temporary injunction, a temporary asset restraint, and expedited discovery

(the “Ex Parte Motion”).

       I.      INTRODUCTION AND SUMMARY OF ARGUMENT

       Plaintiff Mobile Pixels is requesting temporary ex parte relief based on an action for

design patent infringement against the defendants identified on Schedule A to the Complaint

(collectively, the “Defendants”). As alleged in Plaintiff’s Complaint, Defendants are offering for

sale and selling the same unauthorized and unlicensed product, namely an auxiliary monitor for

laptop computers that infringe Mobile Pixels’ patented design (the “Infringing Products”)




                                                1
             Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 2 of 16




through at least the fully interactive e-commerce stores1 operating under the seller aliases

identified in Schedule A to the Complaint (the “Seller Aliases”).

           Defendants have targeted sales to Massachusetts residents by setting up and operating e-

commerce stores using one or more Seller Aliases through which Massachusetts residents can

purchase Infringing Product. The e-commerce stores operating under the Seller Aliases share

unique identifiers establishing a logical relationship between them. Further, Defendants attempt

to avoid and mitigate liability by operating under one or more Seller Aliases to conceal both their

identities and the full scope and interworking of their operation. Mobile Pixels is forced to file

this action to combat Defendants’ infringement of its patented design, as well as to protect

unknowing consumers from purchasing Infringing Products over the internet. Defendants’

ongoing unlawful activities should be restrained, and Plaintiff respectfully requests that this

Court issue an ex parte a Temporary Restraining Order.

           II.     STATEMENT OF FACTS

                   A. Mobile Pixels Products and Patented Design

           Plaintiff Mobile Pixels is a is a California corporation with its principal place of business

at 8 Cedar Street, Suite 62, Woburn MA 01801. See Declaration of Xiaoliang Yao (the “Yao

Declaration” at ¶ 3. Mobile Pixels was founded in 2016 by Mr. Yao and Wenglong Ng to

develop and market auxiliary monitors for computers. Id. at ¶ 4. In particular, the pair sought to

create at least one monitor that could be attached to the back of a laptop monitor and be

deployable between a stowed position behind the screen and a display position extending from

one or both sides of the laptop monitor, allowing laptop users to experience the convenience of

multiple screens without requiring the laptop to be docked to a desktop docking station with



1
    The e-commerce stores are listed on Schedule A to the Complaint under the Online Marketplaces.

                                                          2
         Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 3 of 16




additional stand-alone monitors. Id. Since its founding, Mobile Pixels has achieved

considerable success, and its patented designs are well known and distinctive. Id. at ¶¶ 7-9.

These designs are broadly recognized by consumers. Id. Auxiliary monitors styled after these

designs are associated with the quality and innovation that the public has come to expect from

Mobile Pixels Products. Mobile Pixels uses these designs in connection with its Mobile Pixels

Products, including but not limited to United States Design Patent No. D920,975 (the “’975

Patent”). Id. Mobile Pixels is the lawful assignee of all right, title and interest in and to the ’975

Patent. Id. at ¶ 6.

                B. Defendants’ Unlawful Activities

        Over the last year or so, Mobile Pixels has identified numerous fully interactive e-

commerce stores, including those operating under the Seller Aliases, which were offering for sale

and/or selling Infringing Products to consumers in this Judicial District and throughout the

United States. Complaint (dkt. 1) at ¶ 13. Mobile Pixels’ well-pled allegations regarding

registration patterns, similarities among the e-commerce stores operating under the Seller Aliases

and the Infringing Products for sale thereon, and common tactics employed to evade enforcement

efforts establish a logical relationship among the Defendants and that Defendants are interrelated.

If Defendants provide additional credible information regarding their identities, Mobile Pixels

will take appropriate steps to amend the complaint.

        III.    ARGUMENT
        Defendants’ purposeful, intentional, and unlawful conduct is causing and will continue to

cause irreparable harm to Mobile Pixels’ reputation. Rule 65(b) of the Federal Rules of Civil

Procedure provides that the Court may issue an ex parte TRO where immediate and irreparable

injury, loss, or damage will result to the applicant before the adverse party or that party’s attorney

can be heard in opposition. Fed. R. Civ. P. 65(b). The entry of a TRO is appropriate because it

                                                  3
          Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 4 of 16




would immediately stop the Defendants from benefitting from their wrongful use of the design of

the ‘360 Patent and preserve the status quo until a hearing can be held.

        In the absence of a TRO without notice, the Defendants can and likely will register new

e-commerce stores under new aliases and move assets to off-shore bank accounts outside of the

jurisdiction of this Court. Courts have recognized that civil actions against infringers present

special challenges that justify proceeding on an ex parte basis. See, e.g., Kay v. Individual

Defendants, Partnerships, & Unincorporated Associations, No. 22-CV-3033--RJD, 2023 WL

4350645, at *2 (S.D. Ill. Apr. 14, 2023)2 (entering a temporary restraining order without notice

to the defendants because “[t]he Court can reasonably expect that if Plaintiff proceeds on notice

to the Defendants regarding this Motion for Temporary Restraining Order, Defendants will

quickly change the ownership of their e-commerce stores, modify their e-commerce stores’ data

and content, change payment accounts, redirect consumer traffic to other seller identification

names, and/or transfer assets and ownership of Seller IDs.”); Lead Creation Inc. v. Partnerships

& Unincorporated Associations Identified on Schedule A, No. 8:23-CV-49-CEH-CPT, 2023 WL

1993971, at *4 (M.D. Fla. Feb. 14, 2023) (entering temporary restraining order without notice to

defendants because Plaintiff had demonstrated that, “in the absence of an ex parte Order,

Defendants could and likely would move any assets from accounts in financial institutions under

this Court's jurisdiction to off-shore accounts.”); Columbia Pictures Indus., Inc. v. Jasso, 927 F.

Supp. 1075, 1077 (N.D. Ill. 1996) (observing that “proceedings against those who deliberately




2
 True and correct copies of the unpublished decisions cited herein are attached as Exhibit B to the Declaration of
Thomas P. McNulty in Support of Motion for Electronic Service of Process Pursuant to Fed. R. Civ. P. 4(f)(3), filed
herewith.


                                                         4
         Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 5 of 16




traffic in infringing merchandise are often useless if notice is given to the infringers.”). As such,

Mobile Pixels respectfully requests that this Court issue the requested ex parte TRO.

       This Court has original subject matter jurisdiction over the claims in this action pursuant

to the provisions of the Patent Act, 35 U.S.C. § 1, et seq., 28 U.S.C. §§ 1338(a)-(b), and 28

U.S.C. § 1331. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) and/or (3).

       This Court may properly exercise personal jurisdiction over Defendants because

Defendants directly target business activities toward consumers in the United States, including

Massachusetts, through at least the fully interactive, e-commerce stores operating under the

Seller Aliases. Specifically, Defendants have targeted sales to Massachusetts residents by setting

up and operating e-commerce stores that target United States consumers using one or more Seller

Aliases, offer shipping to the United States, including Massachusetts, accept payment in U.S.

Dollars and, on information and belief, have sold Infringing Products to residents of

Massachusetts. See Complaint at ¶ 15; see, e.g., Acushnet Co. v. Zimventures, LLC, 155 F. Supp.

3d 97, 102–03 (D. Mass. 2015) (finding the operation of transactional websites - “websites that

invite users to ‘enter into contracts with residents of a foreign jurisdiction that involve the

knowing and repeated transmission of computer files over the Internet’” - is generally sufficient

to show purposeful availment); Iovate Health Scis., Inc. v. Allmax Nutrition, Inc., 549 F. Supp.

2d 127, 129 (D. Mass. 2008) (finding personal jurisdiction over foreign defendant who operated

a website through which Massachusetts residents could purchase accused products, noting “[i]f

the defendants take advantage of the opportunity to sell their products in the Commonwealth of

Massachusetts and enjoy the right to enforce their contracts in Massachusetts courts, they will

necessarily submit themselves to the jurisdiction of Massachusetts courts with respect to claims

arising out of those transactions.”) Further, courts have specifically found that offering products



                                                   5
         Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 6 of 16




for sale in a jurisdiction through third-party interactive websites also constitutes purposeful

availment in that jurisdiction. See, e.g., Curry v. Revolution Labs., LLC, 949 F.3d 385, 392-93

(7th Cir. 2020) (finding personal jurisdiction proper over a non-resident defendant operating

through e-commerce store operators, including eBay); Hilsinger Co. v. FBW Investments, No.

14–14715, 109 F.Supp.3d 409, 429, 2015 WL 3764604, at *15 (D. Mass. June 17, 2015) (Saylor,

J.) (finding defendant's maintenance of a partly interactive website was sufficient to satisfy

purposeful availment prong “in light of [defendant's] sales into Massachusetts through national

retailers,” among other factors); Acushnet Co, 155 F. Supp. 3d at 104–05 (“Purposeful availment

may also be inferred from the utilization of a third-party website, such as when a third-party

website makes a defendant's products available for sale, advertises a defendant's products, or

directs online traffic to a defendant's website. Under these circumstances, however, personal

jurisdiction is proper only if the defendant has exercised some level of “control” over the

contents of the third-party site, or alternatively if, by virtue of the third-party site, the defendant

has “deliver[ed] its products into the stream of commerce with the expectation that they will be

purchased by consumers in the forum [s]tate.”) (internal citations omitted).

        Each of the Defendants is committing tortious acts in Massachusetts, is engaging in

interstate commerce, and has wrongfully caused Mobile Pixels substantial injury in

Massachusetts.

        A. Standard for Temporary Restraining Order and Preliminary Injunction
        District Courts within this Circuit hold that the standard for granting a TRO and the

standard for granting a preliminary injunction are identical. See, e.g., Washington Tr. Advisors,

Inc. v. Arnold, 646 F. Supp. 3d 210, 217 (D. Mass. 2022) (“[t]he Court applies the same standard

in assessing Washington Trust's requests for a temporary restraining order and for a preliminary

injunction”); LeBeau v. Spirito, 703 F.2d 639, 642 (1st Cir.1983) (same). To obtain injunctive

                                                   6
         Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 7 of 16




relief under either a TRO or a preliminary injunction, the plaintiff must show “(1) a substantial

likelihood of success on the merits, (2) a significant risk of irreparable harm if the injunction is

withheld, (3) a favorable balance of hardships, and (4) a fit (or lack of friction) between the

injunction and the public interest.” Id. (citing NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir.

2020)). While all four factors are relevant, likelihood of success is the “main bearing wall” of the

preliminary injunction framework. Corp. Techs., Inc. v. Harnett, 731 F.3d 6, 10 (1st Cir. 2013)

(citation omitted).

       B. Mobile Pixels Will Likely Succeed on the Merits
       The United States Patent Act provides that “whoever without authority makes, uses,

offers to sell, or sells any patented invention, within the United States or imports into the United

States any patented invention during the term of the patent therefor, infringes that patent. 35

U.S.C. 271(a). In this case, Mobile Pixels is the lawful assignee of all right, title and interest in

and to the ’975 Patent. Yao Declaration at ¶ 6. Mobile Pixels has submitted extensive

documentation that Defendants make, use, offer for sale, sell, and/or import into the United

States for subsequent sale or use the same product, namely auxiliary monitors, that infringes

directly and/or indirectly the design of the ’975 Patent. Id. at ¶ 10; see Ex. 1 to the Complaint.

The documentation submitted by Mobile Pixels shows that an ordinary observer would be

deceived into thinking that the Infringing Product was the same as the Mobile Pixels Design.

Reddy v. Lowe’s Companies, Inc., No. 13-CV-13016-IT, 2015 WL 5634461, at *2 (D. Mass.

Sept. 24, 2015) (citing Egyptian Goddess, Inc v. Swisa, Inc., 543 F.3d 665, 672 (Fed. Cir. 2008))

(“[u]nder the ordinary observer test [set forth in the Egyptian Goddess decision, infringement

occurs [i]f, in the eye of an ordinary observer, giving such attention as a purchaser usually gives,

... the resemblance [between the claimed design and the accused design] is such as to deceive

such an observer, inducing him to purchase one supposing it to be the other.”); see also Crocs,

                                                   7
         Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 8 of 16




Inc. v. Int’l Trade Comm’n, 598 F.3d 1294, 1303 (Fed. Cir. 2010) (“To show infringement under

the proper test, an ordinary observer ... would [have to] be deceived into believing that the

accused product is the same as the patented design.”).

       Finally, Mobile Pixels has not licensed or authorized Defendants to use the Mobile Pixels

Design, and none of the Defendants are authorized retailers of genuine Mobile Pixels Products.

Yao Declaration at ¶ 10. Accordingly, Mobile Pixels is likely to establish a prima facie case of

design patent infringement.

       C. There is No Adequate Remedy at Law, and Mobile Pixels Will Suffer Irreparable
          Harm in the Absence of Preliminary Relief
       Irreparable harm resulting from design patent infringement is demonstrated when

“remedies available at law, such as monetary damages, are inadequate to compensate for [that]

injury.” Robert Bosch LLC v. Pylon Manufacturing Corp., 659 F.3d 1142, 1148 (Fed. Cir. 2011).

At this stage, Mobile Pixels need only to show that irreparable harm is likely. See, e.g.,

Luminara Worldwide, LLC .v. Liown Elecs. Co. Ltd., 814 F.3d 1343, 1352 (Fed. Cir. 2016);

Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Here, Mobile Pixels is likely to

suffer two primary forms of irreparable harm; (1) loss of customers’ goodwill, and (2)

reputational harm. Yao Declaration at ¶¶ 19-23. Each of these harms, independently, constitutes

irreparable harm and offers a basis on which preliminary relief should issue. See, e.g., Aria

Diagnostics, Inc. v. Sequenom, Inc., 726 F.3d 1296, 1304 (Fed. Cir. 2013) (“Under [the Court of

Appeals for the Federal Circuit’s] precedent, price erosion, loss of goodwill, damage to

reputation, and loss of business opportunities are all valid grounds for finding irreparable harm.”)

(internal quotes and cites omitted).

       Defendants’ infringement erodes and devalues Mobile Pixels’ rights in the Mobile Pixels

Design, thereby risking injury to Mobile Pixels’ goodwill and reputation and interfering with


                                                 8
         Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 9 of 16




Mobile Pixels’ ability to exploit the Mobile Pixels’ Design. Yao Declaration at ¶¶ 19-23. See,

e.g., Trebro Mfg., Inc. v. Firefly Equip., LLC, 748 F.3d 1159, 1170 (Fed. Cir. 2014) (citations

omitted) (overturning denial of injunctive relief where the district court dismissed evidence

showing likely loss of market share and customers, noting that “such factors are pertinent to the

irreparable harm inquiry”); Douglas Dynamics, LLC v. Buyers Prod. Co., 717 F.3d 1336, 1344–

45 (Fed. Cir. 2013) (Irreparable injury encompasses different types of losses that are often

difficult to quantify, including lost sales, harm to a company's reputation, particularly its

perception in the marketplace by customers, dealers, and distributors, and loss of distinctiveness

and market lure where competitors can utilize patented features); Celsis In Vitro, Inc. v.

CellzDirect, Inc., 664 F.3d 922, 930 (Fed. Cir. 2012) (Upholding grant of injunctive relief where

irreparable harm “would include price erosion, damage to ongoing customer relationships, loss

of customer goodwill (e.g., when an effort is later made to restore the original price), and loss of

business opportunities.”). Indeed, “[w]here two companies are in competition against one

another, the patentee suffers the harm—often irreparable—of being forced to compete against

products that incorporate and infringe its own patented inventions.” Douglas Dynamics, 717

F.3d at 1345 (finding that the plaintiff had suffered irreparable injury).

       Defendants’ infringement of the Mobile Pixels Design by sale of the Infringing Products

is likely to cause consumer confusion with the genuine Mobile Pixels Products, resulting in harm

to Mobile Pixels’ reputation and loss of costumers’ goodwill. Yao Declaration at ¶¶ 19-23. As

established by the Federal Circuit, “[h]arm to the reputation from confusion between an inferior

accused product and a patentee’s superior product is a type of harm that is often not fully

compensable by money because the damages caused are speculative and difficult to measure.”

Reebok In’t Ltd. V. J. Baker, Inc., 32 F.3d 1552, 1558 (Fed. Cir. 1994); see also Tuf-Tite, Inc. v.



                                                  9
        Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 10 of 16




Fed. Package Networks, Inc., No. 14-cv-2060, 2014 WL 6613116, at *8 (N.D. Ill. Nov. 21, 2014)

(quoting and relying on Reebok in finding irreparable harm).

       A casual nexus exists between Defendants’ infringement and each of the irreparable

harms that Mobile Pixels is suffering. Apple, Inc. v. Samsung Elecs. Co., 735 F.3d 1352, 1364

(Fed. Cir. 2013). Here, Defendants’ infringing use of the Mobile Pixels Design in the Infringing

Products is a substantial, if not the exclusive, reason for consumer demand of the Infringing

Products. See PCT Int’l Inc. v. Holland Elecs. LLC, No. CV-12-01797-PHX-JAT, 2015 WL

5210628, at *23-24 (D. Ariz. Sept. 8, 2015), aff’d, No. 2016-1061, 2016 WL 4373941 (Fed. Cir.

Aug. 16, 2016) (“The Federal Circuit has explained that when the products at issue are

“relatively simple,” in the sense that they have a small number of features, the casual nexus

requirement is easier to satisfy because the infringing feature has a large impact on the demand

for products.”)

       Finally, because Defendants are individuals and businesses who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions with no U.S.

presence, any monetary judgment is likely uncollectible. See Robert Bosch, LLC v. Pylon Mfg.

Corp., 659 F3d 1142, 1156 (Fed. Cir. 2011) (reversing denial of permanent injunction where the

likely availability of monetary damages was in question); O2 Micro Int’l Ltd. V. Beyond

Innovation Tech. Co., No. 2:04-cv-0032, 2007 WL 869576, at *2 (E.D. Tex. Mar. 21, 2007)

where “all three defendants are foreign corporations and that there is little assurance that

[plaintiff] could collect monetary damages.”). Further, district courts have found that money

damages were insufficient in similar cases involving foreign infringers. See, e.g., Qin v.

Partnerships & Unincorporated Associations on Schedule "A", No. 6:21-CV-1243-ADA, 2022

WL 80274, at *3 (W.D. Tex. Jan. 7, 2022) (finding the fact that the defendants were foreign



                                                 10
        Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 11 of 16




corporations with no U.S. presence, making collection of monetary judgments unlikely, weighs

in favor of a preliminary injunction); Aevoe Corp v. AE Tech Co., Ltd., No. 2:12-cv-0053, 2012

WL 760692, at *5 (D. Nev. Mar. 7, 2012) (“[A] finding of irreparable harm was not clearly

erroneous because it also found that since AE Tech is a foreign corporation, money damages

would be insufficient.”); Otter Prods., 2013 WL 5910882, at *2 (“because Anke has no presence

in the United States, it may be difficult or impossible for Otterbox to enforce a monetary

judgment against Anke”); Bushnell, Inc. v. Bruton Co., 673 F.Supp.2d 1241, 1263 (D. Kan. 2009)

(granting preliminary injunction; “the prospect of collecting money damages from a foreign

defendant with few to no assets in the United States tips in favor of a finding of irreparable

harm”); Nike, 166 F.Supp.3d, at 1179 (“[B]ecause Bestwinn has no presence in the United

States, it may be difficult or impossible for NIKE to recover a money judgement against

Bestwinn”).

       For the reasons stated above, Mobile Pixels will suffer immediate and irreparable injury,

loss, or damage if an ex parte Temporary Restraining Order is not issued in accordance with

Federal Rule of Civil Procedure 65(b)(1). Lane Declaration at ¶ 24.

       D.      The Balancing of Harms Tips in Mobile Pixels’ Favor, and the Public
               Interest Is Served by Entry of the Injunction
       As noted above, if the Court is satisfied that Mobile Pixels has demonstrated (1) a

likelihood of success on the merits, (2) no adequate remedy at law, and (3) the threat of

irreparable harm if preliminary relief is not granted, then it must next consider the harm that

Defendants will suffer if preliminary relief is granted, balancing such harm against the

irreparable harm Mobile Pixels will suffer if relief is denied. Ty, Inc., 237 F.3d at 895. As willful

infringers, Defendants are entitled to little equitable consideration. This is because any harm to

Defendants that could possibly result from a temporary restraining order is self-inflicted.


                                                 11
        Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 12 of 16




Defendants took a calculated risk when they engaged in design patent infringement. Under such

circumstances, courts refuse to assign any “harm” to the defendant because it assumed the risk.

See Celsis in Vitro, Inc. v. CellzDirect, Inc., 664 F.3d 922, 931 (Fed. Cir. 2012) (“the preliminary

record suggests that LTC’s losses were the result of its own calculated risk in selling a product

with knowledge of Celsis’ patent”).

       As Mobile Pixels has demonstrated, Defendants have been profiting from the sale of

Infringing Products. Thus, the balance of equities tips decisively in Mobile Pixels’ favor. The

public is currently under the false impression that Mobile Pixels has granted a license or

permission to Defendants with respect to the Mobile Pixels Design. In this case, the injury to the

public is significant, and the injunctive relief that Mobile Pixels seeks is specifically intended to

remedy that injury by dispelling the public confusion created by Defendants’ actions. As such,

equity requires that Defendants be ordered to cease their unlawful conduct.

IV. THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE
       The Patent Act authorizes courts to issue injunctive relief “in accordance with the

principles of equity to prevent the violation of any right secured by patent, on such terms as the

court deems reasonable.” 35 U.S.C. § 283. The four-factor preliminary injunction test applies

where, as here, the movant seeks a prejudgment asset “freeze order.” Charlesbank Equity Fund

II v. Blinds To Go, Inc., 370 F.3d 151, 162 (1st Cir. 2004).

       A.      A Temporary Restraining Order Immediately Enjoining Defendants’
               Unauthorized and Unlawful Use of the Mobile Pixels Design Is Appropriate
       Mobile Pixels requests a temporary injunction requiring the Defendants to immediately

cease making, using, offering for sale, selling, and importing any products not authorized by

Mobile Pixels and that include any reproduction, copy, or colorable imitation of the design

claimed in the Mobile Pixels Design. Such relief is necessary to stop the ongoing harm to Mobile


                                                  12
        Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 13 of 16




Pixels’ control over its rights in the Mobile Pixels Design, its reputation, and associated

goodwill, as well as harm to consumers, and to prevent the Defendants from continuing to

benefit from their unauthorized use of the Mobile Pixels Design. The need for ex parte relief is

magnified in today’s global economy where infringers can operate anonymously over the

Internet. Mobile Pixels is currently unaware of both the true identities andc locations of the

Defendants, as well as other e-commerce stores used to distribute Infringing Products. Many

courts have authorized immediate injunctive relief in similar cases involving the sale of

infringing products. See, e.g., Nike, Inc. v. Fujian Bestwinn Industry Co., Ltd., 166

F.Supp. 3d 1177, 1178-79 (D. Nev. 2016).

       B. Preventing the Fraudulent Transfer of Assets Is Appropriate

       Mobile Pixels requests an ex parte restraint of Defendants’ assets so that Mobile Pixels’

right to an equitable accounting of Defendants’ profits from sales of Infringing Products is not

impaired. Issuing an ex parte restraint will ensure Defendants’ compliance. If such a restraint is

not granted in this case, Defendants may disregard their responsibilities and fraudulently transfer

financial assets to overseas accounts before a restraint is ordered. Specifically, upon information

and belief, the Defendants in this case hold most of their assets in off-shore accounts, making it

easy to hide or dispose of assets, which will render an accounting by Mobile Pixels meaningless.

Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707,

709 (5th Cir. 2007); see also, e.g., Volkswagen AG, et a. v. hkseller*2011, et al., No. 18-cv-07621

(N.D. Ill. May 6, 2019) at (dkt. 20), ¶¶ 1-5 (court found that defendants took deliberate action to

avoid the asset restraint by transferring most of the money out of its PayPal account in the two




                                                 13
          Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 14 of 16




days between the hearing on a motion for a temporary restraining order and the entry of the

order).

          In addition, Mobile Pixels has shown a strong likelihood of succeeding on the merits of

its design patent infringement claim, so according to 35 U.S.C. § 289, Mobile Pixels is entitled to

recover “the extent of [Defendants’] total profit.” Mobile Pixels’ Complaint seeks, among other

relief, that Defendants account for and pay to Mobile Pixels all profits realized by Defendants by

reason of Defendants’ unlawful acts. Therefore, this Court has the inherent equitable authority to

grant Mobile Pixels’ request for a prejudgment asset freeze to preserve relief sought by Mobile

Pixels. See, e.g., Fairview Mach. & Tool Co. v. Oakbrook Int'l, Inc., 77 F. Supp. 2d 199, 203 (D.

Mass. 1999) (granting preliminary injunction on claim for unjust enrichment, noting “[w]hen

equitable remedies are demanded, the court held that asset freezing preliminary injunctions

remain available if the injunction is a reasonable measure to preserve the status quo in aid of the

ultimate equitable relief claimed.) (internal citations omitted); Lorillard Tobacco Co. v.

Montrose Wholesale Candies, 2005 WL 3115892, at *13 (N.D. Ill. Nov. 8, 2005) (courts are

allowed to issue a restraint on assets for lawsuits seeking equitable relief) (citing Grupo

Mexicano, de Desarollo, S.A. v. Aliance Bond Fund, 527 U.S. 308, 325 (1999)).

          Mobile Pixels has shown a likelihood of success on the merits, an immediate and

irreparable harm suffered as a result of Defendants’ activities, and that, unless Defendants’ assets

are frozen, Defendants will likely hide or move their ill-gotten funds to off-shore bank accounts.

Accordingly, an asset restraint is proper.

          D. Mobile Pixels Is Entitled to Expedited Discovery
          The United States Supreme Court has held that “federal courts have the power to order, at

their discretion, the discovery of facts necessary to ascertain their competency to entertain the



                                                 14
        Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 15 of 16




merits.” See, e.g., Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, at *6 (N.D. Ill.

Dec. 21, 2007). (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S.Ct. 2380

(1978)). Courts have wide latitude in determining whether to grant a party's request for

discovery. Id. (citation omitted). Furthermore, courts have broad power over discovery and may

permit discovery in order to aid in the identification of unknown defendants. See Fed. R. Civ. P.

26(b)(2).

       Mobile Pixels respectfully requests expedited discovery to discover bank and payment

system accounts Defendants use for their sales operations. The expedited discovery requested in

Mobile Pixels’ Proposed TRO is limited to include only what is essential to prevent further

irreparable harm. Discovery of these financial accounts so that they can be frozen is necessary to

ensure that these activities will be contained. Mobile Pixels’ seizure and asset restraint may have

little meaningful effect without the requested relief. Accordingly, Mobile Pixels respectfully

requests that expedited discovery be granted.

V. A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

       The posting of security upon issuance of a TRO or preliminary injunction is vested in the

Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787, 789 (8th Cir. 1989).

Because of the strong and unequivocal nature of Mobile Pixels’ evidence of design patent

infringement, Mobile Pixels respectfully requests that this Court require Mobile Pixels to post a

bond of no more than ten thousand U.S. dollars ($10,000.00). See, e.g., Deckers Outdoor

Corporation, No. 15-cv-3249 (N.D. Ill. June 10, 2015) (ordering release of the $10,000 bond

upon entry of default judgment).




                                                15
        Case 1:23-cv-12587-ADB Document 10 Filed 11/16/23 Page 16 of 16




VI. CONCLUSION

       Defendants’ operations are irreparably harming Mobile Pixels’ business, its well-known

brand, and consumers. Without entry of the requested relief, Defendants’ infringement of the

Mobile Pixels Design in connection with the making, using, offering to sell, selling, or importing

of the Infringing Products will continue to irreparably harm Mobile Pixels. Therefore, entry of an

ex parte order is necessary. In view of the foregoing, Mobile Pixels respectfully requests that this

Court enter a Temporary Restraining Order in the form submitted herewith.



 Dated: November 16, 2023                         Respectfully submitted,

                                                     /s/ Thomas P. McNulty
                                                     Thomas P. McNulty (BBO # 654,564)
                                                     LANDO & ANASTASI, LLP
                                                     60 State Street – 23rd Floor
                                                     Boston, MA 02109
                                                     Tel: (617) 395-7000
                                                     Fax: (617)-395-7070

                                                     Attorney for Plaintiff Mobile Pixels, Inc.




                                                16
